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                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK

                                                     Lead Case No. 1:21-cv-05906-RA
    IN RE CARLOTZ, INC. SECURITIES
    LITIGATION


                          NOTICE OF SUPPLEMENTAL AUTHORITY
        Defendants respectfully submit this Notice of Supplemental Authority in connection with

their Motion to Dismiss the Second Amended Complaint (ECF 67) concerning recent developments

in Menora Mivtachim Ins. Ltd. v. Frutarom Indus. Ltd., No. 21-cv-1076 (“Frutarom”), previously pending

before the United States Court of Appeals for the Second Circuit. On September 30, 2022, the Second

Circuit held in Frutarom that an acquiror’s stockholders who did not own stock in the target lacked

standing under Section 10(b) of the Exchange Act to sue the target for “alleged misstatements the

target company made about itself prior to the merger . . . .” Slip Op. at 11.1 Frutarom was the subject

of prior briefing in this action, including Defendants’ reply in further support of their motion to

dismiss (ECF 74) and a sur-reply by Plaintiffs (ECF 80).

        On November 30, 2022, following Plaintiffs’ sur-reply, the Second Circuit amended its

September 30 decision holding that, under Section 10(b), investors of an acquiror lack standing to sue

a merger target for alleged misstatements made “about [the target]” unless those investors were

stockholders of the target. Menora Mivtachim Ins. Ltd. v. Frutarom Indus. Ltd., 54 F.4th 82, 84 (2d Cir.

2022) (emphasis added).2 The Second Circuit reiterated that Section 10(b) standing “entails a ‘formal’

and not a ‘functional’ inquiry” to avoid “endless case-by-case erosion” of the bright line purchaser-

seller rule. Id. at 87 (citation omitted).



1 Although previously reported at 49 F.4th 790 and 2022 WL 4587488, the September 30, 2022 decision has
  been withdrawn from these reporters following its amendment on November 30, 2022, as described herein.
2 The Second Circuit’s November 30, 2022 amended decision is attached hereto as Ex. 1, and a redline

  comparing that decision with the panel’s September 30, 2022 decision is also attached hereto as Ex. 2.
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        On January 4, 2023, the Second Circuit denied appellants’ petition for panel rehearing or, in

the alternative, for rehearing en banc. (See Ex. 3.) Accordingly, under the Second Circuit’s amended

decision in Frutarom, Plaintiffs lack standing to assert a Section 10(b) claim as to any alleged pre-Merger

misstatement about CarLotz since they were not stockholders of CarLotz during that period. See Br.

(ECF 68) at 16; Opp’n (ECF 70) at 17 & n.12; Reply (ECF 74) at 3-4.3

Dated: New York, New York
       January 18, 2023

                                                  Respectfully submitted,

                                                  /s/ Mary Eaton
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                                                  known as CarLotz Group, Inc., and
                                                  successor to Acamar Partners Sub, Inc. by
                                                  merger), Acamar Partners Acquisition
                                                  Corp. (now known as CarLotz, Inc.),4 Michael W. Bor,
                                                  Rebecca Polak, and Thomas W. Stoltz

                                                  /s/ Stephen P. Blake*
                                                  *Signature used with permission pursuant to S.D.N.Y.
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                                                  Counsel for Defendants Acamar Partners Sponsor I LLC,

3 The alleged misstatements and omissions barred by Frutarom are those at ¶¶ 111, 114, 116, 118-21, 123, 126,
  128, 130, 132, 134, 136, 138, 140, 142-43, 145, 147, 150, 152, 155, 157, 159, 161, 163, 166, 168, 170, 172.
4 On December 9, 2022, CarLotz, Inc. was acquired by Shift Technologies, Inc.




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                            Luis Ignacio Solorzano Aizpuru, Juan Carlos Torres
                            Carretero, James E. Skinner, Domenico De Sole, and Teck
                            H. Wong




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